Case 1:18-cv-00172-MN         Document 332        Filed 01/19/22     Page 1 of 2 PageID #: 9928




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



  TRUSTID, INC.,

                        Plaintiff,

                 v.                                C.A. No. 18-172-MN

  NEXT CALLER INC.,

                        Defendant.


                                      FINAL JUDGMENT

        This WKday of January 2022, the jury having returned its verdict (D.I. 296, 297), and the

 Court having denied the motion of plaintiff TRUSTID, Inc. (“TRUSTID”) for judgment as a matter

 of law, for a new trial, and for pre-judgment and post-judgment interest and having granted the

 motion of defendant Next Caller Inc. (“Next Caller”) for judgment as a matter of law and for no

 punitive damages (see D.I. 329, 330), pursuant to Rule 58(b) of the Federal Rules of Civil

 Procedure, IT IS HEREBY ORDERED that:

        1.     Judgment is entered in favor of Next Caller and against TRUSTID with respect to

 TRUSTID’s claim for false advertising under the Lanham Act;

        2.     Judgment is entered in favor of Next Caller and against TRUSTID with respect to

 TRUSTID’s claim for false advertising under the Delaware Deceptive Trade Practices Act;

        3.     Judgment is entered in favor of Next Caller and against TRUSTID with respect to

 direct infringement, induced infringement, and contributory infringement of the asserted claims of

 U.S. Patent Nos. 9,001,985, 9,238,532 and 9,871,913 (“the patents-in-suit”); and
Case 1:18-cv-00172-MN           Document 332          Filed 01/19/22     Page 2 of 2 PageID #: 9929




         4.      Judgment is entered in favor of TRUSTID and against Next Caller with respect to

 anticipation, obviousness, and patent eligibility of the asserted claims of the patents-in-suit. 1

         IT IS FURTHER ORDERED that the deadline for any party to move for costs and attorneys’

 fees (including under 35 U.S.C. § 285) is extended to the later of thirty (30) days after the time for

 appeal has expired or thirty (30) days after issuance of the mandate from the appellate court, and no

 party shall file any such motion before that time.

         SO ORDERED this WKday of -DQXDU\2022



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                                                  The
                                                  T     Honorable
                                                   hhee Honnorable Maryellen Noreika
                                                  United d States District Judge




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        The Court of Appeals for the Federal Circuit has affirmed the PTAB’s decision that claims
 1 and 4 of U.S. Patent No. 9,001,985 are unpatentable. TRUSTID, Inc. v. Next Caller, Inc., 2021
 WL 4427918 (Fed. Cir. Sept. 27, 2021).

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